The State highway department, in the name of Grover C. Dillman, commissioner, deposited funds of the State, without bonds, in the Metropolitan Trust Company to the amount of $304,305.90. The trust company was taken over by the banking department in June, 1931, and placed under receivership. The claim of the highway department was filed with the receiver as a preferred claim but no mention made of the prerogative of the State to have payment of its money. The State petitioned *Page 183 
the court to adjudge return of the money so deposited under asserted sovereign prerogative right.
The circuit judge refused, and the State appealed.
At the argument the attorney general abandoned any claim that defendant was a trustee ex maleficio.
Affirmed, for reasons stated in Fry v. Equitable Trust Co.,ante, 165. No costs.
McDONALD, C.J., and CLARK, POTTER, SHARPE, NORTH, FEAD, and BUTZEL, JJ., concurred.